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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

 IN RE:                               )
                                      )
 ALEXANDER LOUIS BEDNAR,              ) Case No. 15-11916-TRC
                                      ) Chapter 7
               Debtor.                )
                                      )
 ALEXANDER L. BEDNAR,                 )
                                      )
               Plaintiff,             )
                                      )
 -vs-                                 ) Adv. No. 18-01096-TRC
                                      )
 FRANKLIN      AMERICAN    MORTGAGE )
 COMPANY; FEDERAL NATIONAL MORTGAGE )
 ASSOCATION; OKLAHOMA COUNTY SHERIFF; )
 AND RCB BANK,                        )
                                      )
               Defendants.            )


  AMENDED DEFENDANTS, FEDERAL NATIONAL MORTGAGE ASSOCIATION
    AND FRANKLIN AMERICAN MORTGAGE COMPANY’S RESPONSE AND
     OBJECTION TO PLAINTIFF’S REQUEST FOR EXPEDITED HEARING


       COMES NOW Defendants, Federal National Mortgage Association (“Fannie Mae”) and

Franklin American Mortgage Company (“Franklin”) (Fannie Mae and Franklin are sometimes
collectively referred to herein as “Defendants”), by and through its undersigned counsel of record,

and respectfully responds to Plaintiff/Debtor, Alexander L. Bednar’s (“Plaintiff”) Request for

Expedited Hearing Regarding Application for Stay Pending Appeal [Doc. 66], filed by Plaintiff

on March 26, 2019 (the “Request”).

       Plaintiff’s Request should be denied. Plaintiff has requested an expedited hearing to which

Defendants object. The undersigned emailed Plaintiff informing Plaintiff that he would be out of

state March 28th and 29th an out of the country without access to communications until April 8,

2019. See, March 26, 2019, Email from Jim Timberlake to Plaintiff, attached hereto as Exhibit 1.


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       Plaintiff was required to include, but failed to include “[a] statement that the consent of the

other parties in interest has been requested, whether such parties consent or object, and the identity

of parties consenting or objecting or, if consent was not requested, the reason therefor.” OK R

USBCTWD Rule 9006-1(A)(4). The time stamp of the filed Request shows that at the exact same

time, 4:18 P.M. on March 26, 2019, the undersigned replied to Plaintiff’s email objecting to the

Request and notifying Plaintiff that he would be unavailable until April 8, 2019. See, Plaintiff’s

Request; Exhibit 1. Accordingly, Defendants respectfully request that the Court deny Plaintiff’s

Request.
                                          CONCLUSION

       For the foregoing reasons, Plaintiff’s request for an expedited hearing should be denied.



This 27th day of March, 2019.




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                                       Respectfully submitted,



                                       ____s/Jim Timberlake_________________
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                                       Mortgage Association and Franklin American
                                       Mortgage Company




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                                  CERTIFICATE OF SERVICE

         This is to certify that I did, on this 9th day of April, 2019, electronically transmit the above
and foregoing document, with any and all attachments, to the Clerk of Court using the ECF System
for filing and transmittal of a Notice of Electronic Filing to the following ECF registrants:

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                                                /s Jim Timberlake__________________




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